
BROWN, Justice
(dissenting).
I dissent. I believe this Court’s decision in Ex parte Parker, 740 So.2d 432 (Ala. 1999), is incorrect. When I served on the Court of Criminal Appeals, 1 concurred in that Court’s decision in the Parker case, holding that proof of the three prior DUI offenses was a material element of the offense of felony DUI. State v. Parker, 740 So.2d 421, 428-24 (Ala.Crim.App.1996). See also McDuffie v. State, 712 So.2d 1118 (Ala.Crim.App.1997). I continue to believe the Court of Criminal Appeals’ decision in Parker was correct. Therefore, I must dissent.
